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                                                    UNITED STATES DISTRICT COURT
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                    9                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
F L E X N E R




                   10 BROIDY CAPITAL MANAGEMENT LLC                         Case No. 2:18-CV-02421-JFW-E
                        and ELLIOTT BROIDY,
                   11                                                       The Honorable John F. Walter
                        Plaintiffs,
                   12                                                        ___________ ORDER ON STIPULATION
                                                                            [PROPOSED]
S C H I L L E R




                        v.                                                  TO SCHEDULE FOR FILING ANSWER
                   13                                                       OR OTHER RESPONSIVE PLEADING
                        STATE OF QATAR, STONINGTON                          BY DEFENDANTS GLOBAL RISK
                   14 STRATEGIES LLC, NICOLAS D. MUZIN,                     ADVISORS LLC AND KEVIN CHALKER
                        GLOBAL RISK ADVISORS LLC, KEVIN                     ________
                   15 CHALKER, DAVID MARK POWELL,
B O I E S




                        MOHAMMED BIN HAMAD BIN KHALIFA
                   16 AL THANI, AHMED AL-RUMAIHI, and
                        DOES 1-10,
                   17
                        Defendants.
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                   21                  Presently before the Court is Plaintiffs’ and Defendants Global Risk Advisors LLC

                   22 and Kevin Chalker’s Proposed Order on Stipulation to Schedule for Filing Answer or Other
                   23 Responsive Pleading by Defendants Global Risk Advisors LLC and Kevin Chalker. The Proposed
                   24 Order is GRANTED.
                   25           IT IS HEREBY ORDERED:

                   26           GRA and Mr. Chalker will respond to the First Amended Complaint on July 23, 2018. If

                   27 either GRA or Mr. Chalker files a motion to dismiss on that date, it will be noticed for a hearing
                   28 date 35 days thereafter, on August 27, 2018. Any opposition by Plaintiffs to such a motion will be
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                    1 filed no later than 21 days before the hearing date, on August 6, 2018. Any reply briefs shall be
                    2 filed no later than 14 days before the hearing date, on August 13, 2018.
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                        IT IS SO ORDERED.
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                    5   Dated: June 7, 2018

                    6                                                    John F. Walter
                                                                         United States District Judge
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                                                                    ORDER ON SCHEDULING STIPULATION
